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                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO

In re:                                      )
                                            )
11380 SMITH RD LLC                          )       Case No. 18-10965 TBM
EIN XX-XXXXXXX                              )       Chapter 11
                                            )
Debtor.                                     )


     ERRATA TO DEBTOR’S DISCLOSURE STATEMENT DATED MARCH 23, 2018


      Debtor-in-Possession, 11380 Smith Rd LLC (“Debtor”), through its counsel,
Weinman & Associates, P.C., hereby submits this Errata to its previously filed Disclosure
Statement dated March 23, 2018 (Docket No. 54).

1.       Article VIII, Paragraph (1) shall be modified to add the following language: The Class
         1 creditor is owed approximately $56,752.

2.       Article VIII, Paragraph (2) shall be modified to add the following language: The Class
         2 creditor is owed approximately $3,531,638 (subject to verification and
         deacceleration). In the event the Debtor’s Real Property is not sold or refinanced
         within one (1) year of the Confirmation Order, the Real Property shall be deeded to
         the Class 2 creditor.

3.       Article VIII, Paragraph (3) shall be modified to add the following language: Class 3
         unsecured claims include the following:

                Tim Henzel - $1,200,000.
                Xcel Energy - $718.56.
                Owners Insurance Company - Unknown claim is disputed and contingent.

4.       Article X, Paragraph (i) shall be modified to add the following language: In the event
         the Debtor’s Real Property is not sold or refinanced within one (1) year of the
         Confirmation Order, the Real Property shall be deeded to the Class 2 creditor.
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DATED: March 28, 2018

                                  Respectfully Submitted,

                                  WEINMAN & ASSOCIATES, P.C.



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